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                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NEW YORK


In re:
                                                             No. 1:08–48275 (ESS)
HILAL K. HOMAIDAN,
f/k/a Helal K. Homaidan,                                     Chapter 7

                  Debtor.


HILAL K. HOMAIDAN,
on behalf of himself and
all others similarly situated,

                  Plaintiff,

v.                                                           No. 1:17–ap–1085 (ESS)

SALLIE MAE, INC.,
NAVIENT SOLUTIONS, LLC, and
NAVIENT CREDIT FINANCE CORPORATION,

                  Defendants.


                     STIPULATED ACCESS PROTOCOL ORDER

         Plaintiff Hilal K. Homaidan and defendants Navient Solutions, LLC (“NSL”)1 and

Navient Credit Finance Corporation (“NCFC”; with Plaintiff and NSL, the “Parties” and

each a “Party”), seek the entry of this Stipulated Access Protocol Order (the “Access

Protocol”) to facilitate and govern Plaintiff’s access to Data Materials (defined infra).2 For

good cause shown, the Court hereby orders as follows:




1        The Defendant named as Sallie Mae, Inc. is now known as NSL.

2        Entry of this Stipulated Access Protocol Order is without prejudice to the Parties’
         respective rights and objections (including, without limitation, the right to seek
         relief from the Court) in regard to any written discovery served in this action.
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A.    DATA MATERIALS

1.    NSL shall make available for review the following (collectively, the “Data

      Materials”):

              a.     real-time access on or before May 14, 2019 to NSL’s FDR, CLASS,

                     CARES, Jack Henry, Artiva, and Eagle data and software systems,

                     including any interfaces related to servicing and collection

                     (collectively, the “Data Systems”), as and to the extent applicable and

                     available, via the Clean Room Protocol described in Section B for up

                     to 1,000 of the individual loans (the “Selected Loans”) identified in

                     the borrower list initially produced to Plaintiff’s counsel on January

                     29, 2019, and updated and revised from time to time thereafter (the

                     “Borrower List”);3

              b.     an encrypted production on or before May 20, 2019 of extracted

                     data and any available demographic information associated with

                     the Selected Loans as and to the extent it exists in the ordinary

                     course of business in the applicable Data Systems as of the date of

                     extraction, including, without limitation all historical data available

                     for the applicable loans; and

              c.     access in the Clean Room to the selected extracted data in a separate

                     database environment with access to database tools and interfaces.


 3     The parties shall meet and confer in good faith if, after accessing the Data
       Systems, Plaintiff’s counsel requests additional data points to be added to
       subsequent list updates or if any other disputes or issues arise in connection
       with the terms set forth herein.
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2.    NSL has produced available data dictionaries for the applicable Data Systems to

      Plaintiff’s counsel.

3.    Plaintiff’s counsel shall deliver to NSL’s counsel on or before April 12, 2019 a list

      of the general types of information they wish to view in the various Data Systems

      in real-time (e.g., payment data, demographic data, correspondence data, etc.); a

      list identifying the Selected Loans for which they are seeking access; and a list of

      the data fields from the various data dictionaries to be included in the encrypted

      data production.

4.    The parties shall meet and confer if, after accessing the Data Systems, Plaintiff’s

      counsel requests additional data to be exported and included in the encrypted data

      production described above.

5.    All Data Materials shall be designated and treated as “Confidential Information” as

      that term is defined in the Stipulated Protective Order, Dkt. No. 82 (the “Protective

      Order”), and shall be subject to such additional security requirements NSL may

      determine are reasonably necessary to ensure that the Data Materials are only used

      for proper purposes and to minimize the risk of an inadvertent disclosure that

      could potentially harm the owners of the information (collectively, the “Data

      Security Requirements”).

B.    CLEAN ROOM PROTOCOL

1.    NSL shall make real-time access to the Data Systems available by providing one or

      more NSL employees to act as monitors to facilitate view-only access to the

      Selected Loans in the applicable Data Systems via one or more computers (to be

      supplied by NSL) located in a separate room in NSL’s Wilkes-Barre, Pennsylvania

      offices (a “Clean Room”). The monitors or other NSL employees or representatives
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      will be made available to answer any technical questions that may be reasonably

      necessary to facilitate the Reviewers’ (defined infra) access to the Data Systems.

2.    NSL shall provide one or more encrypted USB drives for the purpose of enabling

      “screen shots” to be taken in regard to the Selected Loans in the various applicable

      Data Systems. Each such document (each, a “Document”) shall be assigned a

      unique document ID by Plaintiff’s counsel, tied to the associated borrower ID and

      loan number. The Document shall be saved on the encrypted USB drive(s) using

      the unique document ID as the file name. When access is completed, NSL shall

      produce to Plaintiff’s counsel a copy of the encrypted USB drive(s) with all saved

      Documents, which shall be designated and treated as Confidential Materials under

      the Protective Order.

3.    Plaintiff’s counsel shall provide to NSL’s counsel the following information for

      each of Plaintiff’s counsel or their agents seeking access to the Clean Room (each,

      a “Reviewer”):

              a.       first and last name;

              b.       telephone number;

              c.       e-mail address; and

              d.       relationship with Plaintiff’s counsel.

4.    Authorized Reviewers may include Plaintiff’s counsel, their employees, third-party

      vendors, and/or experts working under the supervision of Plaintiff’s counsel. All

      Reviewers shall have their identities established through the verification of a state

      or federally issued ID prior to being granted access to the Clean Room or any Data

      Materials.
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5.    No Reviewer shall have access to the Clean Room unless and until Plaintiff’s

      counsel have provided to NSL’s counsel copies, signed by that Reviewer, of an

      acknowledgment and agreement to be bound by the Protective Order and any Data

      Security Requirements. It shall be the responsibility of Plaintiff’s counsel to

      supervise the Reviewers and ensure their compliance with the terms of the

      Protective Order and, if applicable, any Data Security Requirements.

6.    Beginning no later than May 14, 2019, NSL shall make the Clean Room available

      to the Reviewers each business day that NSL is open between the hours of 9 a.m.

      to 5 p.m. EST. The Reviewer(s) will be allowed to communicate with Plaintiff’s

      counsel from within the Clean Room using a landline telephone to be supplied by

      NSL, for purposes of seeking technical assistance and guidance in identifying Data

      Materials to be reviewed (an “Assistance Call”). Other than an Assistance Call, no

      form of external communication from within the Clean Room is permitted.

7.    The Reviewers may bring one laptop (to be provided by Plaintiff’s counsel) into the

      Clean Room for the sole purpose of off-line viewing of documents previously

      produced in this proceeding. There shall be no access to the internet, no texts, no

      emails, no phone calls (except via the landline described above), or other

      communications or connectivity of any kind, and no audio or video recording or

      taking of any photographs, while in the Clean Room.

8.    No outerwear, bags, or other communication, storage, or electronic devices other

      than the laptop described above may be taken into or used in the Clean Room for

      any other purpose, and NSL’s monitors may conduct security screenings (including

      of any laptop brought into the Clean Room by the Reviewer(s)) to ensure no

      unauthorized materials or items are taken into or out of the Clean Room.
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9.     With the exception of Documents saved to the encrypted USB drive(s) described

       above, no notes, summaries, descriptions, recordings, or any other reproduction of

       non-public information accessed in the Data Systems may be taken from the Clean

       Room.

10.    NSL may put in place any other appropriate measures to ensure the security of

       NSL’s data and to limit the Reviewers’ access to other portions of the Wilkes-Barre

       facility.

11.    The Reviewers shall have access to the Clean Room until the earlier of

       (i) May 20, 2019 or (ii) the date on which Plaintiff’s counsel notify NSL that they

       have completed their review.

12.    NSL’s counsel and experts may, but are not required to, attend and observe any and

       all activities undertaken in the Clean Room pursuant to this Protocol.

SO ORDERED.
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AGREED AS TO FORM AND SUBSTANCE AND RESPECTFULLY
SUBMITTED BY:

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                             CERTIFICATE OF SERVICE

       I certify that on this 8th day of May, 2019, I filed the foregoing document with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing to
all counsel of record.
                                           /s/ Shawn R. Fox
